









Affirmed and Memorandum Opinion filed December 15, 2005









Affirmed and Memorandum Opinion filed December 15,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00291-CV

____________

&nbsp;

IN THE INTEREST OF K.V. and E.P.

&nbsp;



&nbsp;

On Appeal from the 313th District
Court

Harris County,
Texas

Trial Court Cause No.
04-02280J

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This appeal is from a final decree signed March 9, 2005,
terminating the parental rights of A.V., the mother, and J.P., the father, to
the children who are the subject of this suit.&nbsp;
Appellant filed a timely notice of appeal. 








A.V.=s appointed counsel filed a brief in which he concludes the
appeal is wholly frivolous and without merit.&nbsp;
The brief meets the requirements of Anders v. California, 386
U.S. 738, 87 S.Ct. 1396 (1967), presenting a professional evaluation of the
record demonstrating why there are no arguable grounds to be advanced.&nbsp; See High v. State, 573 S.W.2d 807
(Tex. Crim. App. 1978).&nbsp; The Anders
procedures are applicable to an appeal from the termination of parental rights
when an appointed attorney concludes that there are no non-frivolous issues to
assert on appeal.&nbsp; In re D.E.S.,
135 S.W.3d 326, 329 (Tex. App.CHouston [14th Dist.] 2004, no pet.).&nbsp; 

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of her
right to examine the appellate record and file a pro se? response.&nbsp; See Stafford v. State, 813 S.W.2d 503,
510 (Tex. Crim. App. 1991); In re D.E.S., 135 S.W.3d at 329-30.&nbsp; More than forty-five days have elapsed and as
of this date, no pro se response has been filed.

We have carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit.&nbsp;
Further, we find no reversible error in the record.&nbsp; A discussion of the brief would add nothing
to the jurisprudence of the state.

Accordingly, the judgment of the trial court terminating the
parental rights of A.V. is&nbsp; affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion
filed December 15, 2005.

Panel consists of Justices Fowler,
Edelman, and Guzman.&nbsp; 

&nbsp;





